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8                          UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10
      PHILIP HANES,                     ) NO. CV 20-05472-SB (KS)
11                                      )
                       Petitioner,
12                                      )
              v.                        ) JUDGMENT
13                                      )
14    CRAIG KOENIG, Warden, et al.,     )
                                        )
15                     Respondents.     )
16    _________________________________ )

17
18          Pursuant to the Court’s Order, IT IS ADJUDGED that this action is dismissed with
19    prejudice.
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     Dated: November 10, 2021
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25                                                   Stanley Blumenfeld, Jr.
                                                    United States District Judge
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